

Matter of Ishmael S. (Katherine F.) (2021 NY Slip Op 01153)





Matter of Ishmael S. (Katherine F.)


2021 NY Slip Op 01153


Decided on February 23, 2021


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: February 23, 2021

Before: Kapnick, J.P., Webber, Mazzarelli, Oing, JJ. 


Docket No. NN-46458-61/10 Appeal No. 13178-13178A Case No. 2019-05153 

[*1]In the Matter of Ishmael S., and Others, Children Under Eighteen Years of Age, etc., Katherine F., Respondent-Appellant, Administration for Children's Services, Petitioner-Respondent.


Law Office of Bruce A. Young, New York (Bruce A. Young of counsel), for appellant.
James E. Johnson, Corporation Counsel, New York (Cynthia Kao of counsel), for respondent.
Dawne A. Mitchell, The Legal Aid Society, New York (Judith Stern of counsel), attorney for the children.



Order of Disposition, Family Court, New York County (Jody Adams, J.), entered on or about July 24, 2012, to the extent it brings up for review a fact-finding order, same court and Judge, entered on or about June 23, 2011, which found that respondent mother neglected the subject children, unanimously reversed, on the law and the facts, without costs, the fact-finding determination vacated, and the petitions dismissed. Appeal from fact-finding order unanimously dismissed, without costs, as subsumed in
the appeal from the order of disposition.
The Administration for Children's Services concedes it is not seeking affirmance of the neglect finding. THIS CONSTITUTES THE DECISION AND ORDER
OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: February 23, 2021








